Case 2:20-cv-02044-AB-JC Document 65 Filed 12/11/20 Page 1 of 4 Page ID #:733




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 7
                        UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
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10   ALEXANDER STROSS,                     The following four cases are consolidated
11                                         for the purposes of this Stipulation only:
     Plaintiff,                            Case No: 2:20-cv-00861-AB(JC) Stross
12                                         Case No: 2:20-cv-00862-AB(JC) Ledergerber
                                           Case No: 2:20-cv-00863-AB(JC) Walmsley
13   v.                                    Case No: 2:20-cv-02044-AB(JC) Kühmstedt

14   NETEASE, INC., et al.,                Hon. André Birotte Jr. Presiding
15
     Defendants.                           [PROPOSED] ORDER ON
16                                         STIPULATION TO EXTEND
                                           PRETRIAL AND TRIAL DATES
17

18                                         Current Deadlines:
19                                         Fact Discovery Cutoff: 1/8/21
                                           Expert Discovery Cutoff: 2/19/21
20                                         Hearing Motion Cutoff: 3/19/21
21                                         ADR Cut off: 4/2/21
                                           Pretrial Conference: 6/11/21
22                                         Trial: 6/29/21
23
     RALPH LEDERGERBER,
24
     Plaintiff,
25

26   v.
27

28                                        1

                                   [PROPOSED] ORDER
Case 2:20-cv-02044-AB-JC Document 65 Filed 12/11/20 Page 2 of 4 Page ID #:734




 1
     NETEASE, INC., et al.,

 2   Defendants,
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     JOHN WALMSLEY,
 4
     Plaintiff,
 5

 6   v.
 7
     NETEASE, INC., et al.,
 8
     Defendants.
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10
     BERNHARD KUHMSTEDT,

11   Plaintiff,
12
     v.
13

14   NETEASE, INC., et al.,

15   Defendants.
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                                   [PROPOSED] ORDER
Case 2:20-cv-02044-AB-JC Document 65 Filed 12/11/20 Page 3 of 4 Page ID #:735
Case 2:20-cv-02044-AB-JC Document 65 Filed 12/11/20 Page 4 of 4 Page ID #:736




 1
      Trial (Kühmstedt)         August 31, 2021        October 19, 2021 at 8:30

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                                                       am

 3   //

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 5         SO ORDERED.
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     Dated: December 11, 2020          By:
 8                                           HON. ANDRÉ BIROTTE JR
 9                                           UNITED STATES DISTRICT JUDGE

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                                   [PROPOSED] ORDER
